      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-1817
                      Lower Tribunal No. 19-1033-K
                          ________________


                          Victoria Rodriguez,
                                  Appellant,

                                     vs.

                         Angel Rodriguez, Jr.,
                                  Appellee.



     An appeal from the Circuit Court for Monroe County, Bonnie J. Helms,
Judge.

     Victoria Rodriguez, in proper person.

     Andrew M. Kassier, P.A., and Andrew M. Kassier, for appellee.


Before SCALES, MILLER, and BOKOR, JJ.

     MILLER, J.
      Appellant, the mother, challenges a default final judgment of

dissolution of marriage awarding appellee, the father, sole parental

responsibility for their fourteen-year-old daughter and ordering the payment

of child support.     Contrary to the father’s contention, the denial of due

process constitutes fundamental error, which can be raised for the first time

on appeal. See Weiser v. Weiser, 132 So. 3d 309, 311 (Fla. 4th DCA 2014).

Nonetheless, in this case, the undeveloped record compels affirmance. We

do so, however, without prejudice to the mother’s ability to file a timely and

appropriate motion pursuant to Florida Family Law Rule of Procedure

12.540(b) in the lower tribunal seeking to vacate the final order and convene

an evidentiary hearing on her claim that she did not receive notice. See

Vasquez v. Nadra, 337 So. 3d 403, 404 (Fla. 3d DCA 2021) (affirming denial

of 1.540(b) motion without prejudice to timely filing of “an appropriate rule

1.540(b)(4) motion to allow the trial court, in the first instance, to address her

voidness claim”); see also Fla. Fam. L. R. P. 12.440(c) (“[T]he court . . . shall

enter an order setting the action for trial, fixing a date for trial, and setting a

pretrial conference, if necessary. In the event a default has been entered,

reasonable notice of not less than 10 days shall be given unless otherwise

required by law.”).

      Affirmed, without prejudice.



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